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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SWAROVSKI AKTIENGESELLSCHAFT and
SWAROVSKI NORTH AMERICA LIMITED,
                                                       Case No. 19-cv-05190
                        Plaintiffs,

       v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                          COMPLAINT

       Plaintiffs Swarovski Aktiengesellschaft and Swarovski North America Limited

(collectively, “Swarovski” or “Plaintiffs”) hereby bring the present action against the Partnerships

and Unincorporated Associations identified on Schedule A attached hereto (collectively,

“Defendants”) and allege as follows:

                              I.      JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)–(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive from

a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly
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targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain

Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using counterfeit versions

of Swarovski’s trademarks. Each of the Defendants has targeted sales from Illinois residents by

operating online stores that offer shipping to the United States, including Illinois, accept payment

in U.S. dollars and, on information and belief, has sold products using counterfeit versions of

Swarovski’s federally registered trademarks to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused

Swarovski substantial injury in the State of Illinois.

                                      II.   INTRODUCTION

       3.      This action has been filed by Swarovski to combat online counterfeiters who trade

upon Swarovski’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed counterfeit products using counterfeit versions of Swarovski’s federally registered

trademarks (collectively, the “Counterfeit Swarovski Products”). Upon information and belief,

Defendants create the Defendant Internet Stores by the dozens and design them to appear to be

selling genuine Swarovski branded products, while actually infringing Swarovski’s trademarks

and selling Counterfeit Swarovski Products to unknowing consumers. The Defendant Internet

Stores share unique identifiers, such as design elements and similarities of the counterfeit products

offered for sale, establishing a logical relationship between them and suggesting that Defendants’

counterfeiting operation arises out of the same transaction, occurrence, or series of transactions or



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occurrences. Defendants attempt to avoid liability by going to great lengths to conceal both their

identities and the full scope and interworking of their counterfeiting operation. Swarovski is forced

to file these actions to combat Defendants’ counterfeiting of its registered trademarks, as well as

to protect unknowing consumers from purchasing Counterfeit Swarovski Products over the

Internet.     Swarovski has been and continues to be irreparably damaged through consumer

confusion, dilution, and tarnishment of its valuable trademarks as a result of Defendants’ actions

and seeks injunctive and monetary relief.

                                      III.   THE PARTIES

Plaintiffs

         4.      Plaintiff Swarovski Aktiengesellschaft (“SAG”) is a Liechtenstein joint-stock

company with its principal place of business at Droschistrasse 15 FL-9495 Triesen, Liechtenstein.

SAG owns all right, title and interest in and to the SWAROVSKI® mark and name for use in

connection with a wide range of goods and services.

         5.      Plaintiff Swarovski North America Limited (“SNA”) is a Rhode Island corporation

with its principal place of business at One Kenney Drive, Cranston, Rhode Island 02920. SNA

uses the SWAROVSKI® mark under express permission from SAG.

         6.      Swarovski is a world-famous designer, manufacturer and distributor of crystals,

jewelry and other fine, luxury products. With more than 120 years of experience in high-quality

craftsmanship and mastery of precision cutting, Swarovski is known for its crystals of unmatched

range and brilliance. They are used in creative industries such as fashion, jewelry, accessories,

interior design, and lighting. Swarovski crystals are the most technologically advanced in the

world.




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       7.      Swarovski designs, manufactures, and sells many high-quality crystal and

gemstone products, including, but not limited to, jewelry, watches, accessories, handbags,

sunglasses, figurines, and other decorative items (these and other genuine Swarovski branded

products are collectively referred to herein as the “Swarovski Products”).       Swarovski’s finely

crafted jewelry, watches, and fashion accessories provide modern and multifaceted women with a

unique touch of sparkle, glamour, and elegance. Each of Swarovski’s eye-catching designs is

infused with technical expertise and a passion for detail that has characterized the brand since its

inception in 1895.

       8.      Swarovski Products are sold in approximately 170 countries worldwide, with

production locations based in Austria, India, Thailand, Vietnam, Serbia and the United States.

Number one in the fashion jewelry segment, Swarovski sells its creations in approximately 2,680

of its own branded stores around the globe, including 281 stores in the United States and a boutique

in Chicago’s Magnificent Mile shopping district.

       9.      Since its founding in 1895, the unique and highly desirable Swarovski Products

have led to enormous growth and financial success for Swarovski. In 2015 Swarovski reported

revenue of more than $3.76 Billion, with the crystal business alone generating revenue of more

than $285 Million in the United States and over $2.9 Billion worldwide.

       10.     The root of this financial success lies in Swarovski’s ability to consistently deliver

highly desirable Swarovski Products. Swarovski Products have become enormously popular and

even iconic, driven by Swarovski’s arduous quality standards and innovative designs. Among the

purchasing public, genuine Swarovski Products are instantly recognizable as such. In the United

States and around the world, the Swarovski brand has come to symbolize high quality, and

Swarovski Products are among the most recognizable in the world.



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       11.     Providing genuine Swarovski branded retail store services over the Internet to sell

genuine Swarovski Products is an important part of Swarovski’s business strategy. Since 1996,

Swarovski has operated a website at Swarovski.com where it promotes and sells genuine

Swarovski Products. The Swarovski.com website features proprietary content, images and designs

exclusive to Swarovski.

       12.     Swarovski has been using its trademarks in commerce continuously and

consistently in the United States for many decades. Swarovski’s trademarks are critical to its

business. Swarovski is the owner of and has widely promoted several trademarks which have

earned substantial fame and considerable goodwill among the public. Swarovski has used its

family of trademarks (collectively, the “SWAROVSKI Trademarks”) on or in close connection

with its line of jewelry, figurines, and accessories, as well as in connection with packaging, retail

store services, and online e-commerce. Swarovski Products and/or its packaging always include

at least one of the SWAROVSKI Trademarks. Swarovski incorporates a variety of distinctive

marks in its various Swarovski Products. Consequently, the United States Patent and Trademark

Office has granted Swarovski multiple federal trademark registrations. Swarovski currently owns

69 federal trademark registrations and eight pending applications, and it uses the SWAROVSKI

Trademarks in connection with the marketing of its Swarovski Products. The SWAROVSKI

Trademarks, including but not limited to those listed below, are famous and valuable assets of

Swarovski.

  Registration
                        Trademark                             Goods and Services
      No.
    934,915            SWAROVSKI             For: Natural and imitation jewelry, cut and uncut
                                             semi-precious stones, beads for stringing into
                                             necklaces, or for attaching to fabrics for decorative
                                             purposes, of glass or synthetic materials, clusters of
                                             crystal or synthetic stones in the form of roses for
                                             decorative use on covering fabrics or garments,

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                                 jeweled buttons for garments, crosses, pendants set or
                                 loose, pierced or unpierced, jewel ornamented
                                 souvenir articles, jewel ornamented ribbon or tape for
                                 decorative purposes for garments or home
                                 furnishings in class 008.

                                 For: Decorative and functional glass containers,
                                 jewel-ornamented glasses in class 019.

1,739,479     SWAROVSKI          For: Lighting elements and their glass parts in class
                                 011.

                                 For: Genuine and artificial gemstones, jewelry in
                                 class 014.

                                 For: All purpose handbags in class 018.

                                 For: Glass candle sticks in class 021.

2,402,230     SWAROVSKI          For: Watches in class 014.

3,239,948     SWAROVSKI          For: Cosmetics, perfumes in class 003.

                                 For: Handles and fittings for doors and drawers,
                                 partition wall panels, all mentioned goods primarily
                                 of common metal in class 006.

                                 For: Spectacles and spectacle frames, sun glasses;
                                 opto-electrical apparatus for day and night
                                 observation, range finding, aiming, image recording
                                 and inspection, fine mechanical parts for optical
                                 measuring instruments; binoculars; telescopic sights,
                                 magnifying glasses, rifle scopes, oculars in class 009.

                                 For: Chandeliers and chandelier pendants, chandelier
                                 parts of glass; bath and kitchen fittings for sinks,
                                 basins, bath tubs and showers in class 011.

                                 For: Writing instruments in class 016.

                                 For: Hand bags, purses, wallets in class 018.

                                 For: mirrors, frames, namely, mirror and picture
                                 frames in class 020.




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                                 For: Glassware, in particular figurines, decorative
                                 boxes, vases, candle sticks holders, hollow drinking
                                 glasses, tableware, namely, bowls, napkin rings, all
                                 mentioned goods primarily of glass in class 021.

                                 For: Clothing, in particular gloves, jeans in class 025.

                                 For: Ornaments, namely, small metal plates and glass
                                 stones arranged in motives on a transparent plastic
                                 foil, which also includes textile, leather and metal for
                                 decorative use by ironing or hot pressing; buttons for
                                 clothing, snap fasteners, spangles, jewelry hair bands,
                                 decorative hair bands, clothing buckles in class 026.

                                 For: Decorations for Christmas trees in class 028.

                                 For: Retail store services, in particular for gem
                                 stones, jewelry, decorative articles primarily made of
                                 glass, spectacles, bags, lighting apparatus;
                                 organization of exhibitions for commercial or
                                 advertising purposes with respect to the above-
                                 mentioned goods and services; publicity and sales
                                 promotion for others in class 035.

                                 For: Entertainment, education and cultural activities,
                                 in particular arranging and conducting seminars,
                                 workshops, symposiums and conferences,
                                 organisation of exhibitions for cultural or educational
                                 purposes, organisation of entertainment shows,
                                 organisation of fashion shows, presentation of live
                                 show performances, musical band performances in
                                 class 041.

3,864,495     SWAROVSKI          For: Printed matter, namely, greeting cards, posters,
                                 postcards, newsletters, pamphlets, catalogues,
                                 handbooks, manuals, books and prospectuses in the
                                 fields of jewelry, fashion, design, interior design,
                                 architecture, lighting, lifestyle and cosmetics in class
                                 016.

4,570,427     SWAROVSKI          For: Headphones, in particular stereo headphones and
                                 in-ear-headphones; MP3-players, handheld
                                 computers, tablet computers, laptop computers,
                                 personal digital assistants, global positioning system
                                 (GPS) devices, electronic organisers, electronic note
                                 pads, mobile telephones, cameras, video cameras;

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                                 blank USB flash drives; computer stylus for use with
                                 touch screens; bags, cases and covers specifically
                                 designed for headphones, computers, digital
                                 assistants and mobile telephones; optical lenses for
                                 telescopic sights for fire arms, field glasses and spy
                                 glasses; camera lenses; cases especially made for
                                 photographic apparatus; protective helmets for sports
                                 in class 009.

4,916,075      STARDUST          For: Jewelry; genuine and costume jewelry;
                                 bracelets; bangles; necklaces; pendants; earrings;
                                 rings being jewelry; brooches; charms being personal
                                 jewelry; jewelry ornaments in class 014.

1,650,596                        For: Eyeglasses in class 009.

                                 For: Lighting elements and their glass parts in class
                                 011.

                                 For: Watches and parts thereof, jewelry in class 014.

                                 For: All purpose handbags in class 018.

                                 For: Decorative items of glass, namely, animal
                                 figures, flowers, fruit bowls; glass candlesticks in
                                 class 021.

2,408,747                        For: Watches in class 014.




3,230,029                        For: sun glasses in class 009.

                                 For: Chandeliers and chandelier pendants in class
                                 011.

                                 For: hand bags, purses, wallets in class 018.

                                 For: mirrors and frames in class 020.

                                 For: Glassware, in particular figurines, decorative
                                 boxes, vases, candle sticks holders, hollow drinking

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                                           glasses, tableware, namely, bowls, napkin rings, all
                                           mentioned goods primarily of glass in class 021.

                                           For: Clothing, in particular gloves in class 025.

                                           For: Decorations for Christmas trees in class 028.

                                           For: Retail store services, in particular for gem
                                           stones, jewelry, decorative articles primarily made of
                                           glass, spectacles, bags, lighting apparatus;
                                           organization of exhibitions for commercial or
                                           advertising purposes with respect to the above-
                                           mentioned goods and services; publicity and sales
                                           promotion for others; in class 035.

                                           For: Entertainment, education and cultural activities,
                                           in particular arranging and conducting seminars,
                                           workshops, symposiums and conferences, all the
                                           foregoing in the field of jewelry, arts and fashion;
                                           organization of exhibitions for cultural or educational
                                           purposes, organization of entertainment shows,
                                           organization of fashion shows, presentation of live
                                           show performances in class 041.

    3,864,494                              For: Printed matter, namely, greeting cards, posters,
                                           postcards, newsletters, pamphlets, catalogues,
                                           handbooks, manuals, books and prospectuses in the
                                           fields of jewelry, fashion, design, interior design,
                                           architecture, lighting, lifestyle and cosmetics in class
                                           016.



       13.      The above U.S. registrations for the SWAROVSKI Trademarks are valid,

subsisting, in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The

registrations for the SWAROVSKI Trademarks constitute prima facie evidence of their validity

and of Swarovski’s exclusive right to use the SWAROVSKI Trademarks pursuant to 15 U.S.C. §

1057(b). The SWAROVSKI Trademarks have been used exclusively and continuously by

Swarovski for many years and have never been abandoned. True and correct copies of the United



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States Registration Certificates for the above-listed SWAROVSKI Trademarks are attached hereto

as Exhibit 1.

       14.      The SWAROVSKI Trademarks are exclusive to Swarovski, and are displayed

extensively on or in close connection with Swarovski Products, Swarovski packaging, and in

Swarovski’s marketing and promotional materials. Swarovski Products have long been popular

around the world and have been extensively promoted at great expense. In fact, Swarovski

expends millions of dollars annually promoting and marketing the SWAROVSKI Trademarks.

Swarovski Products have also been the subject of extensive unsolicited publicity resulting from

their high-quality, innovative designs and renown as desired luxury items. Because of these and

other factors, the Swarovski name and the SWAROVSKI Trademarks have become famous

throughout the United States.

       15.      The SWAROVSKI Trademarks are distinctive when applied to the Swarovski

Products and packaging, signifying to the purchaser that the products come from Swarovski and

are consistent with Swarovski’s quality standards. Whether Swarovski manufactures the products

itself or licenses others to do so, Swarovski has ensured that products bearing or sold within

packaging bearing the SWAROVSKI Trademarks are manufactured to the highest quality

standards. The SWAROVSKI Trademarks have achieved tremendous fame and recognition which

has only added to the distinctiveness of the marks. As such, the goodwill associated with the

SWAROVSKI Trademarks is of incalculable and inestimable value to Swarovski.

The Defendants

       16.      Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within the State of Illinois and this Judicial

District, through the operation of the fully interactive, commercial websites and online
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marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and on information and belief, has sold and

continues to sell Counterfeit Swarovski Products to consumers within the United States, including

the State of Illinois.

        17.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of the SWAROVSKI Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Swarovski to learn Defendants’ true identities and the exact interworking of their

counterfeit network.     In the event that Defendants provide additional credible information

regarding their identities, Swarovski will take appropriate steps to amend the Complaint.

                         IV.   DEFENDANTS’ UNLAWFUL CONDUCT

        18.     The success of the Swarovski brand has resulted in its significant counterfeiting.

Consequently, Swarovski has a worldwide anti-counterfeiting program and regularly investigates

suspicious websites and online marketplace listings identified in proactive Internet sweeps and

reported by consumers. In recent years, Swarovski has identified thousands of domain names

linked to fully interactive websites and marketplace listings on platforms such as iOffer, eBay,

AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, including the Defendant Internet Stores,

which were offering for sale and selling Counterfeit Swarovski Products to consumers in this

Judicial District and throughout the United States. Despite Swarovski’s enforcement efforts,

Defendants have persisted in creating the Defendant Internet Stores. Internet websites like the

Defendant Internet Stores are estimated to receive tens of millions of visits per year and to generate



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over $135 billion in annual online sales. According to an intellectual property rights seizures

statistics report issued by Homeland Security, the manufacturer’s suggested retail price (MSRP)

of goods seized by the U.S. government in fiscal year 2014 was over $1.23 billion. Internet

websites like the Defendant Internet Stores are also estimated to contribute to tens of thousands of

lost jobs for legitimate businesses and broader economic damages such as lost tax revenue every

year.

        19.    Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Alipay, Amazon Pay, Western Union and/or PayPal. The Defendant Internet Stores

often include content and design elements that make it very difficult for consumers to distinguish

such counterfeit sites from Swarovski’s website or another authorized website. Many Defendants

further perpetuate the illusion of legitimacy by offering customer service and using indicia of

authenticity and security that consumers have come to associate with authorized retailers,

including the Visa®, MasterCard®, and/or PayPal® logos.           Swarovski has not licensed or

authorized Defendants to use any of the SWAROVSKI Trademarks, and none of the Defendants

are authorized retailers of genuine Swarovski Products.

        20.    Many Defendants also deceive unknowing consumers by using the SWAROVSKI

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Swarovski Products.            Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Internet Stores listings show up at or near the top of relevant



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search results and misdirect consumers searching for genuine Swarovski Products.                Other

Defendants only show the SWAROVSKI Trademarks in product images while using strategic item

titles and descriptions that will trigger their listings when consumers are searching for Swarovski

Products.

        21.    Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and contact

information. On information and belief, Defendants regularly create new websites and online

marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their counterfeiting operation, and to avoid being shut

down.

        22.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. For example, many of the Defendant

websites have virtually identical layouts, even though different aliases were used to register the

respective domain names. In addition, Counterfeit Swarovski Products for sale in the Defendant

Internet Stores bear similar irregularities and indicia of being counterfeit to one another, suggesting

that the Counterfeit Swarovski Products were manufactured by and come from a common source

and that Defendants are interrelated. The Defendant Internet Stores also include other notable

common features, including use of the same domain name registration patterns, shopping cart



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platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO tactics,

HTML user-defined variables, domain redirection, lack of contact information, identically or

similarly priced items and volume sales discounts, the same incorrect grammar and misspellings,

similar hosting services, similar name servers, and the use of the same text and images.

       23.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

domain names or online marketplace accounts under new aliases once they receive notice of a

lawsuit. Counterfeiters also often move website hosting to rogue servers located outside the United

States once notice of a lawsuit is received. Rogue servers are notorious for ignoring take down

demands sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection.

       24.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Swarovski’s enforcement efforts. On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

or other financial accounts to off-shore bank accounts outside the jurisdiction of this Court.

Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-shore

counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       25.     Defendants, without any authorization or license from Swarovski, have knowingly

and willfully used and continue to use the SWAROVSKI Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Swarovski Products into the



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United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the

United States, including Illinois, and, on information and belief, each Defendant has sold

Counterfeit Swarovski Products into the United States, including Illinois.

       26.     Defendants’ use of the SWAROVSKI Trademarks in connection with the

advertising, distribution, offering for sale, and sale of Counterfeit Swarovski Products, including

the sale of Counterfeit Swarovski Products into the United States, including Illinois, is likely to

cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Swarovski.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       27.     Swarovski hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 26.

       28.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered SWAROVSKI

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The SWAROVSKI Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from the Swarovski Products offered, sold or marketed under

the SWAROVSKI Trademarks.

       29.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the SWAROVSKI Trademarks without Swarovski’s permission.

       30.     Swarovski is the exclusive owner of the SWAROVSKI Trademarks. The United

States Registrations for the SWAROVSKI Trademarks (Exhibit 1) are in full force and effect.

Upon information and belief, Defendants have knowledge of Swarovski’s rights in the

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SWAROVSKI Trademarks, and are willfully infringing and intentionally using counterfeits of the

SWAROVSKI Trademarks.           Defendants’ willful, intentional and unauthorized use of the

SWAROVSKI Trademarks is likely to cause and is causing confusion, mistake, and deception as

to the origin and quality of the Counterfeit Swarovski Products among the general public.

       31.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       32.     Swarovski has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Swarovski will continue to suffer irreparable harm to its reputation and the goodwill of

its well-known SWAROVSKI Trademarks.

       33.     The injuries and damages sustained by Swarovski have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Swarovski Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       34.     Swarovski hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 33.

       35.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Swarovski Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Swarovski or the

origin, sponsorship, or approval of Defendants’ Counterfeit Swarovski Products by Swarovski.

       36.     By using the SWAROVSKI Trademarks on the Counterfeit Swarovski Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Swarovski Products.




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       37.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit Swarovski Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       38.     Swarovski has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Swarovski will continue to suffer irreparable harm to its reputation and the goodwill of

the Swarovski brand.

                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       39.     Swarovski hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 38.

       40.     Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their Counterfeit Swarovski Products as those of Swarovski, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

Swarovski Products, representing that their Counterfeit Swarovski Products have Swarovski’s

approval when they do not, and engaging in other conduct which creates a likelihood of confusion

or misunderstanding among the public.

       41.     The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       42.     Swarovski has no adequate remedy at law, and Defendants’ conduct has caused

Swarovski to suffer damage to its reputation and goodwill. Unless enjoined by the Court,

Swarovski will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                    PRAYER FOR RELIEF

WHEREFORE, Swarovski prays for judgment against Defendants as follows:
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1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under, or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the SWAROVSKI Trademarks or any reproductions, counterfeit copies, or

           colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           Swarovski Product or is not authorized by Swarovski to be sold in connection with the

           SWAROVSKI Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Swarovski Product or any other product produced by Swarovski that is not Swarovski’s

           or not produced under the authorization, control, or supervision of Swarovski and

           approved by Swarovski for sale under the SWAROVSKI Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Swarovski Products are those sold under the authorization, control, or

           supervision of Swarovski, or are sponsored by, approved by, or otherwise connected

           with Swarovski;

       d. further infringing the SWAROVSKI Trademarks and damaging Swarovski’s goodwill;

           and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Swarovski, nor authorized by Swarovski to be

           sold or offered for sale, and which bear any of Swarovski’s trademarks, including the




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          SWAROVSKI Trademarks, or any reproductions, counterfeit copies, or colorable

          imitations thereof;

2) Entry of an Order that, upon Swarovski’s choosing, the registrant of the Defendant Domain

   Names shall be changed from the current registrant to Swarovski, and that the domain name

   registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

   Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

   unlock and change the registrar of record for the Defendant Domain Names to a registrar of

   Swarovski’s selection, and that the domain name registrars, including, but not limited to,

   GoDaddy Operating Company, LLC (“GoDaddy”), Name.com, PDR LTD. d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Swarovski’s

   selection; or that the same domain name registries shall disable the Defendant Domain Names

   and make them inactive and untransferable;

3) Entry of an Order that, upon Swarovski’s request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts,

   sponsored search engine or ad-word providers, credit cards, banks, merchant account

   providers, third party processors and other payment processing service providers, Internet

   search engines such as Google, Bing and Yahoo, and domain name registrars, including, but

   not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party

   Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

          future, to engage in the sale of goods using the SWAROVSKI Trademarks;



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       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit and infringing goods using the SWAROVSKI

           Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Domain Names from any search index;

4) That Defendants account for and pay to Swarovski all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the SWAROVSKI Trademarks be increased by a sum not exceeding three times the amount

   thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Swarovski be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   SWAROVSKI Trademarks;

6) That Swarovski be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.

Dated this 1st day of August 2019.            Respectfully submitted,


                                              /s/ Justin R. Gaudio
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